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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION


HARRISON LYNN COLWELL,
                                                            CIVIL COMPLAINT
Plaintiff,

v.                                                         CASE NO. 4:16-cv-00049

B & B FINANCIAL SERVICES, INC.,
                                                       DEMAND FOR JURY TRIAL
Defendant.


                        COMPLAINT FOR RELIEF PURSUANT
                   TO THE FAIR DEBT COLLECTION PRACTICES ACT

       NOW COMES the Plaintiff, HARRISON LYNN COLWELL (“Plaintiff”), by and

through her attorneys, Consumer Law Partners, LLC (“CLP”), complaining of B & B

FINANCIAL SERVICES, INC. (“Defendant”), as follows:

                                     NATURE OF THE ACTION

     1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. §1692, et seq. (“FDCPA”) for Defendant's unlawful collection practices.

                                    JURISDICTION AND VENUE

     2. This action arises under and is brought pursuant to the FDCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the

action arises under the laws of the United States.

     3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts

business in the Southern District of Indiana and all of the events or omissions giving rise to the

claims occurred within the Southern District of Indiana.




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                                                    PARTIES

      4. Plaintiff is a 46 year old natural person residing at 5305 North Meridian Road, Austin,

Indiana, which falls within the Southern District of Indiana.

      5. Plaintiff is a “consumer” as defined by §1692a(3) of the FDCPA.

      6. Plaintiff suffers from a variety of physical and mental issues including: scoliosis,

degenerative disk disease, diabetes, neuropathy, head trauma, anxiety, and depression. Due to

his various conditions, Plaintiff is unable to work and is currently in the process of applying for

disability income through the Social Security Administration.

      7. Defendant is in the business of collecting delinquent consumer debts on behalf of its

clients. From its headquarters at 2313 Willow Reed Road, La Grange, Kentucky, Defendant acts

as a debt collector in multiple states, including Indiana.

      8. Defendant is a Kentucky corporation that is registered with the Indiana Secretary of State

bearing control number 2005110700269.

      9. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it

regularly uses the mails and/or the telephone to collect, or attempt to collect, delinquent

consumer accounts.

      10. On its correspondences, Defendant identifies itself as a debt collector and has been a

member of the Association of Credit and Collection Professionals since 2004.1

                                  FACTS SUPPORTING CAUSES OF ACTION

      11. Due to his vast array of health problems, Plaintiff has incurred a large amount of

medical debts owed to various healthcare providers that he has not been able to satisfy. As a

result, he receives numerous calls and correspondences from various parties seeking payment on



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    http://www.acainternational.org/memberdirectory.aspx

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different medical debts. See attached Exhibit A is a true and correct copy of an affidavit signed

by Plaintiff.

      12. Upon information and belief, many of Plaintiff’s medical providers have turned the

collection of their debts over various third-party collection agencies. Defendant is one of these

collection agencies. Id.

      13. On March 25, 2016, Plaintiff received a call from (502) 222-5553. Upon answering the

call, Plaintiff spoke with a woman who identified herself as Angie. Id.

      14. During the call, Defendant sought payment of $754.00 (“subject consumer debt”). Id

      15. Plaintiff told Angie that he was still in the process of applying for disability. 2 Id.

      16. Shortly after receiving the call from Defendant, Plaintiff call it back seeking additional

information and clarification about the subject consumer debt. Id.

      17. Defendant disconnected Plaintiff’s call twice before finally speaking with him on the

third attempt. Id.

      18. Plaintiff was again connected with Angie and provided her with his name. Id.

      19. During this call, Angie stated to Plaintiff that he owed, “$754.00 for the emergency

room doctors that treated you.” Id.

      20. Angie did not provide any specifics as to what emergency room the subject consumer

debt came from or which doctors treated Plaintiff. Id.

      21. At no point during any of the calls on March 25, 2016 did Defendant inform Plaintiff

that it was a debt collector. Similarly, it never advised Plaintiff during the calls that any

information he gave would be used for the purpose of debt collection.




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 Plaintiff believes he has advised Defendant several other times that he was not working and was applying for
disability income through the Social Security Administration.

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   22. Defendant has failed to provide Plaintiff with the above disclosures during prior

conversations.

   23. Upon information and belief, Defendant routinely fails to provide the above disclosures

to other consumers during its telephonic debt collection activity.

   24. Confused over Defendant’s relationship with the subject consumer debt and ability to

collect payment, Plaintiff spoke with CLP regarding his rights.

   25. Plaintiff has incurred costs and expenses consulting with his attorneys as a result of

Defendant's collection actions.

   26. Plaintiff has suffered financial loss as a result of Defendant’s collection actions.

   27. Plaintiff has been misled by Defendant's collection actions.



              COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   28. Plaintiff repeats and realleges paragraphs 1 through 27 as though fully set forth herein.

   29. The FDCPA states:

                 “A debt collector may not use any false, deceptive, or misleading
                 representation or means in connection with the collection of any
                 debt. Without limiting the general application of the foregoing, the
                 following conduct is a violation of this section: (10) The use of any
                 false representation or deceptive means to collect or attempt to
                 collect any debt or obtain information concerning a consumer; (11)
                 The failure to disclose in the initial communication with the
                 consumer and, in addition, if the initial communication with the
                 consumer is oral, in that initial oral communication, that the debt
                 collector is attempting to collect a debt and that any information
                 obtained will be used for that purpose, and the failure to disclose in
                 subsequent communications that the communication is from a debt
                 collector, except that this paragraph shall not apply to a formal
                 pleading made in connection with a legal action.” 15 U.S.C.
                 §1692e, e(10) and e(11).




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   30. Defendant violated 15 U.S.C. §§1692e, e(10), e(11), and f during the March 25, 2016

calls with Plaintiff. As Plaintiff’s affidavit attests, Defendant did not advise him that it was

acting in the capacity of a debt collector with regards to the subject consumer debt. Additionally,

Defendant neglected to disclose that any information it gained during the call would be used for

the purpose of collecting on the subject consumer debt. These disclosure are mandated by the

FDCPA in all communications between debt collectors and consumers.

   31. Because of his health problems, Plaintiff is regularly contacted by multiple parties

seeking payment on different medical debts. These parties include both original creditors as well

as third-party agencies. The numerous contacts, combined with his mental state, make it very

difficult for Plaintiff to fully comprehend the exact identity of the party he is speaking to without

be properly advised. By failing to disclose its identity as a debt collector, Defendant contributed

to Plaintiff’s confusion.

   32. As an experience and sophisticated debt collector, Defendant knows that it is required to

make the above disclosures. Plaintiff asserts that Defendant routinely ignores these disclosures

during its telephonic debt collection practices. Defendant gains an unfair advantage by failing to

fully advise of its status as a debt collector as consumers are more likely to pay an original

creditor than a third-party. Additionally, by failing to disclose to Plaintiff the specific nature of

the subject consumer debt, Defendant sought to mislead him.

   33. Defendant’s communications with Plaintiff were misleading and sought to gain an

unfair advantage over him. Plaintiff disclosed sensitive information to Defendant without being

properly advised that the information could be used against him in pursuit of the subject

consumer debts.




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   34. As plead in paragraphs 24 through 27, Plaintiff has been harmed and suffered damages

as a result of Defendant’s illegal collection actions.

   WHEREFORE, Plaintiff, HARRISON LYNN COLWELL, respectfully requests that this

Honorable Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.



Dated: March 27, 2016                          Respectfully Submitted,

                                               s/ Nathan C. Volheim
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                                               David S. Klain, Esq. #66305
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